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                                                                                       Our File No.
                                                                                        33679-100

                                                    December 21, 2018

BY ECF AND E-MAIL
Honorable Cathy Seibel
United States District Judge
Southern District of New York
United States Courthouse
300 Quarropas St.
White Plains, NY 10601-4150

        Re:      United States of America and the State of New York
                 ex rel. Luongo v. Dwek, et al., 15-cv-4506-CS (S.D.N.Y.)

Dear Judge Seibel:

This letter is respectfully submitted on behalf of Relator and Defendants. Relator and
Defendants have entered into a settlement agreement. We are electronically filing today a
stipulation of dismissal of Counts I and II of the Second Amended Complaint, without prejudice
as to the United States of America, the State of New York, and the City of New York, and with
prejudice as to Relator, and of Counts III and IV of the Second Amended Complaint, with
prejudice as to Relator. Attorneys representing the United States, the State of New York, and
the City of New York have confirmed that they consent to the Court’s so ordering the stipulation
of dismissal.

                                                    Respectfully submitted,

                                                      s/ Kevin P. Mulry

                                                    Kevin P. Mulry

cc:     All counsel (By ECF)




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